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UNITED STATES COURT OF APPEALS

ELEVENTH CIRCUIT

SEAN P REILLY,

Petitioner/Appellant,
Vv. Appeal No.: 21-11565-CC

D.C. Case No. 4:20-cv-145-TK W-EMT

MARK S. INCH,
Secretary, Department of Corrections,

Respondent/Appellee.

/

MOTION FOR APPOINTMENT OF COUNSEL FOR ORAL ARGUMENT
Appellant, SEAN P REILLY, moves this Honorable Court to appoint

counsel for oral arguments. In support thereof, Reilly states as follows:

1. The issue Reilly presents in his brief is a matter of first impression. The
District Court dismissed Reilly’s § 2254 petition as second or successive. Reilly
argues that his petition was not second or successive. The claims presented in his
petition were still in the state courts being exhausted while the first petition was
being pending in federal court.

2. Because Reilly seeks appointment of counsel in 2254 proceedings, his
request is governed by 18 U.S.C. § 3006A, which provides for the adequate
representation of defendants in criminal matters. See 18 U.S.C. § 3006A.

3. Pursuant to § 3006A(a)(2), an indigent 2254 petitioner may be appointed
counsel if this Court determines that the interests of Justice so require. 18 U. S. i 8

3006A(a)(2)(B). Because § 2254 oracesdines are civil in nature, the interests of

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justice may be justified by exceptional circumstances, such as the presence of facts
and legal issues which are so novel or complex as to require the assistance of a
trained practitioner. Kilgo v. Ricks, 983 F.2d 189, 193 (11th Cir. 1993).

4. Moreover, the interests of justice require the appointment of counsel because
the factual and legal issues he raises in his appeal are complex. The issues argued
in Reilly’s appeal are matters of first impression. In addition, because he is
incarcerated, it is difficult if not impossible for him to investigate his claims and
conduct the necessary research to litigate his claims. It would be a heavy burden to
have Reilly present oral argument on a matter of first impression.

as Accordingly, appointment of counsel is appropriate in this case to promote
efficient and just handling of the claims. See 18 U.S.C. § 3006A(a)(2)(B). See also
Battle v. Armontrout, 902 F.2d 701, 702 (8th Cir. 1990) (holding that the district
court abused its discretion in failing to appoint counsel for habeas corpus
petitioner); Richardson v. Miller, 721 F. Supp. 1087 (W.D.Mo. 1989) (finding, on
particular facts, that the interests of justice dictated appointment of counsel in a
federal habeas case); Richardson v Miller 721 F. Supp. 1087 (WD Mo. 1989)
(extensive discussion of importance of appointing counsel in habeas corpus cases

to investigate facts and prosecute potentially meritorious fact-based claims).

6. This Court granted Reilly’s motion for leave to proceed IFP on appeal.

Thereafter, Reilly timely filed his brief and moved for appointment of counsel.

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7. Reilly has not filed his brief yet. Reilly needs the assistance of counsel in
preparing his appeal brief. The issues presented are issues of first impression, and
it appears that oral argument will be necessary on appeal.

WHEREFORE, Reilly respectfully requests this Honorable Court to grant
this motion and afford him an attorney to assist him in preparing his appeal brief

and to present oral arguments on a matter of first impression.

Respectfully Submitted,

Sean P. Reilly DC#N21886

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that the foregoing has been hand-delivered to
institutional staff at South Bay Correctional Facility for mailing on this [74 day
of QOcts er , 2021, to: Office of the Attorney General, The Capitol —
Suite PLO1, Tallahassee, FL 32399.

f)

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Sean P. Reilly DC#‘N21886
South Bay Correctional Facility

P.O. Box 7171
South Bay, Florida 33493

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IN THE UNITED STATES COURT OF APPEALS
FOR THE ELEVENTH CIRCUIT

CASE NO.: 21-11565-A

L.T. CASE NO.: 4:20-cv-145-TK W/EMT

SEAN P REILLY,
Appellant,

VS.

MARK S&S. INCH, et al,
Appellee.

CERTIFICATE OF INTERESTED PERSONS
AND CORPORATE DISCLOSURE STATEMENT

Pursuant to 11th Cir. R. 26.1, the Appellant, Sean P Reilly, pro se, hereby
submits this Certificate of Interested Persons and Corporate Disclosure Statement,
and in so doing certifies, to the best of his knowledge and belief, that the following
list of all persons who might have an interest in the outcome of this case:

> Abrahamsen, Eric —trial prosecutor;

> Bondi, Pam, then-Attorney General of Florida;
> Campbell, Jack — State Attorney;
>» Clark, Marie — Florida State University Police Sergeant;

> Davis, Jennifer — Putative Witness;

>» Hankinson, James C.—trial judge;

>» Harrison II, Baya—Post-conviction attorney;

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> Inch, Mark — Secretary, Florida Department of Corrections;

>» Kawa, Inam — Putative Witness;

>» McDermott, Michael—Assistant Attorney General of Florida;
>» Vega, Melissa — Putative Witness;

> Villeneuve, Paul—Trial Attorney

Respectfully submitted,

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Sean P Reilly DC# N21886

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